IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NORTHEASTERN DIVISION

DAVID CHERRY, personal

representative of the ESTATE

OF PAMELA CHERRY
Plaintiff CIVIL ACTION NO, 2:12-cv-00043

JUDGE TRAUGER
MAGISTRATE JUDGE KNOWLES

VERSUS

MACON HOSPITAL, INC, d/b/a
MACON COUNTY GENERAL
HOSPITAL, HANNA C, ILIA, M.D.,
JAMES BARLOW, JIMMY PHILPOTT,
CELINA FIRE DEPARTMENT EMS
and CLAY COUNTY E911 BOARD,

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Defendants

AFFIDAVIT OF KRISTY COPAS

STATE OF TENNESSEE

COUNTY OF PUTNAM

Kristy Copas, being first duly sworn, makes oath as follows:

My name is Kristy Copas. I am the Director for the Celina Fire Department EMS.
This is not a separate legal entity, but is a department of the Town of Celina. Iam an
employee of the Town of Celina.

With respect to the 911 call to Pamela Cherry on May 31, 2011, and the dispatch

of the ambulance, James Barlow and Jimmy Philpott were both operating as employees

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of the Town of Celina and responded to this call in the course and scope of their
employment with the Town of Celina.

This information is true and is based upon my own personal knowledge.

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Further Affiant saith not.

STATE OF TENNESSEE

COUNTY OF PUTNAM

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~ NOTARY PUBLIC 303. ©
My Commission Expires:

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